
McINNIS, Judge.
This is a companion case to No. 8008, Crossley v. Stell, 69 So.2d 78, consolidated with this case for trial in the district court and in this court.
The demand here is for $1,225 for damage sustained by the 1950 Chevrolet coach in the accident, and the issues as to negligence of the parties are the same as set up in No. 8008.
After trial on the merits in the district court judgment was rendered rejecting the plaintiff’s demand, and he Has perfected a devolutive appeal to this court.
*82For the reasons assigned in cause No. 8008, Crossley v. Stell, 69 So.2d 78, the judgment appealed from is affirmed at the cost of plaintiff in both courts.
